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                     Exhibit 1
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Forældelsesloven (LBKG 2015 1238)                                                                                          Ikraft: 2024-01-01


                                       Lovbekendtgørelse 2015-11-09 nr. 1238
                                           om forældelse af fordringer

                                                             (forældelsesloven)


                                     som ændret ved L 2018-02-28 nr. 140 og L 2023-12-12 nr. 1553



Kapitel 1                                                                3)     10 år efter begyndelsestidspunktet i henhold til § 2 a for
                                                                                fordringer, som støttes på skriftlig aftale om indskud i et
Lovens område                                                                   selskab, og
§ 1. Fordringer på penge eller andre ydelser forældes efter reglerne     4)     10 år efter begyndelsestidspunktet i henhold til § 2 for andre
i denne lov, medmindre andet følger af særlige bestemmelser om                  fordringer.
forældelse i anden lov.                                                  Stk. 4. Stk. 3, nr. 1, finder ikke anvendelse på fordringer på erstat-
                                                                         ning eller godtgørelse i anledning af en erhvervssygdom, jf. § 7 i
Kapitel 2                                                                lov om arbejdsskadesikring.
                                                                         Stk. 5. Fordringer på erstatning eller godtgørelse, som udspringer
Forældelsesfristernes begyndelsestidspunkt                               af, at en forvaltningsmyndighed, jf. forvaltningslovens § 1, stk. 1
§ 2. Forældelsesfristerne regnes fra det tidligste tidspunkt, til        og 2, har tilsidesat lovbestemte forpligtelser over for en person
hvilket fordringshaveren kunne kræve at få fordringen opfyldt,           under 18 år i forbindelse med overgreb begået over for denne, for-
medmindre andet følger af andre bestemmelser.                            ældes ikke.
Stk. 2. Er der indrømmet skyldneren løbedage eller i øvrigt en frist,
inden for hvilken betaling anses for rettidig, regnes forældelsesfri-    Kapitel 4
sten først fra betalingsfristens udløb.
Stk. 3. For fordringer, som opstår ved misligholdelse af kontrakt,       Særlige forældelsesfrister og tillægsfrister
regnes forældelsesfristen fra tidspunktet for misligholdelsen.           § 4. Forældelsesfristen er 5 år ved fordringer, som støttes på aftale
Stk. 4. For fordringer på erstatning eller godtgørelse for skade         om udførelse af arbejde som led i et ansættelsesforhold.
forvoldt uden for kontraktforhold regnes forældelsesfristen fra          Stk. 2. § 3, stk. 2 og stk. 3, nr. 4, gælder ved fordringer omfattet af
tidspunktet for skadens indtræden.                                       stk. 1.
Stk. 5. Selv om fordringshaveren på grund af skyldnerens mislig-         § 5. Forældelsesfristen er 10 år,
holdelse eller i medfør af en særlig opsigelsesadgang kunne kræve
                                                                         1)      når der er udstedt gældsbrev for fordringen,
opfyldelse før et aftalt forfaldstidspunkt, regnes forældelsesfristen
                                                                         2)      når fordringen er registreret i en værdipapircentral, eller
fra det aftalte forfaldstidspunkt, hvis fordringshaveren ikke udnytter
                                                                         3)      når fordringens eksistens og størrelse er anerkendt skriftligt
denne mulighed. Udnytter fordringshaveren muligheden, regnes
                                                                                 eller fastslået ved forlig, dom, betalingspåkrav påtegnet af
forældelsesfristen fra det tidspunkt, til hvilket opfyldelse herefter
                                                                                 fogedretten eller anden bindende afgørelse.
kan kræves.
                                                                         Stk. 2. Fordring på senere forfaldne renter, gebyrer og lignende
§ 2 a. For fordringer, som støttes på skriftlig aftale om indskud i
                                                                         forældes dog efter § 3.
et selskab, regnes forældelsesfristen tidligst fra det tidspunkt, hvor
selskabet beslutter at indkalde indskuddet. Uanset 1. pkt. regnes        § 6. Forældelsesfristen er 10 år for fordringer i henhold til pengelån
forældelsesfristen dog senest fra 10 år efter begyndelsestidspunktet     eller ubevilgede overtræk på konti i pengeinstitutter, jf. dog stk. 3.
i henhold til § 2.                                                       Stk. 2. Er der ikke fastsat noget tidspunkt for indfrielse af gælden
                                                                         i henhold til en kassekredit eller et andet lån med variabelt lånebe-
Kapitel 3                                                                løb, regnes forældelsesfristen fra den seneste indsættelse eller
                                                                         hævning på kontoen, der er foretaget af andre end fordringshaveren,
De almindelige forældelsesfrister                                        dog senest fra det tidspunkt, til hvilket gælden måtte være opsagt
§ 3. Forældelsesfristen er 3 år, medmindre andet følger af andre         til indfrielse.
bestemmelser.                                                            Stk. 3. Fordring på renter, gebyrer og lignende forældes efter § 3.
Stk. 2. Var fordringshaveren ubekendt med fordringen eller               Dog er sådanne fordringer omfattet af stk. 1 og 2, i det omfang de
skyldneren, regnes forældelsesfristen i stk. 1 først fra den dag, da     tilskrives inden for maksimum på en kredit.
fordringshaveren fik eller burde have fået kendskab hertil.              § 7. For fordringer i henhold til indlån i pengeinstitutter el.lign.,
Stk. 3. Forældelse indtræder senest                                      herunder på tilskrevne renter, er forældelsesfristen 20 år regnet fra
1)     30 år efter den skadevoldende handlings ophør for fordringer      den seneste indsættelse, hævning, rentetilskrivning eller postering
       på erstatning eller godtgørelse i anledning af personskade,       i øvrigt på kontoen.
       jf. dog stk. 4, og for fordringer på erstatning for skade for-    § 8. En fordring på pension, livrente, aftægtsydelse, underholdsbi-
       voldt ved forurening af luft, vand, jord eller undergrund eller   drag eller anden lignende ydelse, der forfalder med bestemte mel-
       ved forstyrrelser ved støj, rystelser el.lign.,                   lemrum og ikke er afdrag på en skyldig hovedstol, og som støttes
2)     10 år efter den skadevoldende handlings ophør for fordringer      på aftale eller afgørelse, forældes i sin helhed efter 10 år regnet fra
       på erstatning for skade forvoldt uden for kontraktforhold,        den dag, da den sidste ydelse blev betalt, eller, hvis ingen betaling
       som ikke er omfattet af nr. 1,                                    har fundet sted, fra den dag, da den første ydelse kunne kræves

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betalt, jf. dog § 25, stk. 5. Fordringerne på de enkelte ydelser for-      3)     når fordringen under retssagen bliver gjort gældende til
ældes desuden efter §§ 2 og 3.                                                    modregning, dog kun i det omfang fordringen dækkes af
§ 9. For fordringer mod værgen, som tilkommer en person under                     hovedfordringen, eller
værgemål, og som udspringer af værgens tilsidesættelse af sine             4)     ved skyldnerens indlevering af stævning til retten med på-
forpligtelser som værge, regnes forældelsesfristerne i § 3, stk. 1 og             stand om, at fordringen ikke består.
3, fra værgemålets ophør.                                                  Stk. 3. Er det aftalt, at tvist om en fordring skal afgøres ved voldgift,
§ 10. For fordringer, som tilkommer en fuldmagtsgiver mod fuld-            eller er anden særlig afgørelsesmåde hjemlet, sker afbrydelsen, når
mægtigen, eller som tilkommer et selskab, en forening, en fond             fordringshaveren iværksætter, hvad der fra dennes side skal gøres
eller lignende mod et bestyrelsesmedlem eller en direktør i selskabet      for at sætte sagen i gang. Stk. 2, nr. 2-4, gælder tilsvarende.
m.v., og som udspringer af den pågældendes tilsidesættelse af sine         § 17. Forældelsen afbrydes
forpligtelser ved hvervets udførelse, indtræder forældelse tidligst,       1)     ved indgivelse af en på fordringen støttet konkursbegæring
når der er forløbet 3 år efter hvervets ophør eller efter det tidligere           eller begæring om rekonstruktionsbehandling,
tidspunkt, da fordringshaveren eller den, der i øvrigt kan gøre for-       2)     ved anmeldelse af fordringen i et konkursbo,
dringen gældende på dennes vegne, er eller burde være blevet be-           3)     ved anmeldelse af fordringen til rekonstruktøren i forbindelse
kendt med de omstændigheder, hvorpå kravet støttes.                               med rekonstruktionsbehandling eller ved anmeldelse af for-
§ 11. Når en fordring er sikret ved kaution, bestemmes forældel-                  dringen i forbindelse med indledning af gældsaneringssag,
sesfristen over for kautionisten efter de regler, der gælder for for-      4)     ved anmeldelse af fordringen i et dødsbo efter dettes udste-
ældelse af fordringen mod hovedskyldneren.                                        delse af proklama og
§ 12. Hæfter flere skyldnere solidarisk, og har én af dem opfyldt          5)     ved anmeldelse af fordringen, efter at skyldneren har udstedt
fordringen, indtræder den pågældende i henseende til forældelse                   proklama.
af krav mod medskyldnere i fordringshaverens retsstilling.                 Stk. 2. Afbrydelse efter stk. 1, nr. 1 og 2, har også virkning i forhold
Stk. 2. Er forældelsen afbrudt over for én af skyldnerne, eller har        til skyldneren personligt, og afbrydelse efter stk. 1, nr. 4, har også
én af skyldnerne på et tidspunkt, hvor fordringen mod denne                virkning i forhold til skyldnerens arvinger.
skyldner ikke var forældet, opfyldt fordringen eller indrømmet             Stk. 3. Er der i de tilfælde, der er nævnt i stk. 1, nr. 2-5, inden for-
fordringshaveren fristforlængelse, forældes et regreskrav mod en           ældelsesfristens udløb udstedt proklama eller indkaldt til det i
medskyldner tidligst 1 år efter afbrydelsen, opfyldelsen eller afgi-       konkurslovens § 13 omhandlede møde, indtræder forældelse ikke
velsen af tilsagnet om fristforlængelse. Foreligger flere af de            før udløbet af anmeldelsesfristen, henholdsvis afholdelse af det i
nævnte begivenheder, regnes tillægsfristen på 1 år fra den begiven-        konkurslovens § 13 omhandlede møde.
hed, som først indtræder.                                                  § 18. Forældelsen afbrydes ved indgivelse af anmodning om udlæg,
§ 13. Udløb af forældelsesfristen er ikke til hinder for, at det under     hvis fordringshaveren søger forretningen fremmet inden for rimelig
en straffesag, hvor tiltalte findes skyldig, kan pålægges tiltalte at      tid.
betale erstatning eller godtgørelse til forurettede i anledning af det     Stk. 2. Foretages udlæg af en pantefoged, afbrydes forældelsen
strafbare forhold. En sådan fordring kan også gøres gældende under         ved udlægsforretningens foretagelse.
et særskilt søgsmål, der anlægges inden 1 år efter endelig afgørelse       Stk. 3. Bestemmelsen i stk. 1 finder tilsvarende anvendelse ved
i en straffesag, hvor tiltalte er fundet skyldig, eller inden 1 år efter   1)     indgivelse af anmodning til fogedretten om foretagelse af
skyldnerens vedtagelse af bøde eller anden strafferetlig sanktion.                arrest,
§ 14. Hvis fordringshaveren har været afskåret fra at afbryde for-         2)     fremsættelse af krav for fogedretten om andel i et auktions-
ældelse på grund af ukendskab til skyldnerens opholdssted eller på                provenu og
grund af en hindring, som ikke beror på fordringshaverens forhold,         3)     indgivelse af anmodning til fogedretten om tilbagetagelse af
indtræder forældelse tidligst 1 år efter, at fordringshaveren fik eller           en løsøregenstand, der er solgt med ejendomsforbehold.
burde have fået kendskab til skyldnerens opholdssted, henholdsvis          Stk. 4. Forældelsen afbrydes ved restanceinddrivelsesmyndighedens
1 år efter hindringens ophør.                                              underretning til skyldneren om afgørelse om indeholdelse i løn
Stk. 2. Bestemmelsen i stk. 1 kan ikke medføre en forlængelse af           m.v. eller modregning.
fristerne efter § 3, stk. 3, og kan højst forlænge andre frister eller     § 19. Når forældelsen afbrydes, løber fra det i stk. 2-6 fastsatte
tillægsfrister med 10 år.                                                  tidspunkt en ny forældelsesfrist, hvis længde bestemmes efter reg-
                                                                           lerne i denne lov.
Kapitel 5                                                                  Stk. 2. Sker afbrydelsen ved skyldnerens erkendelse af forpligtelsen,
Afbrydelse af forældelse                                                   regnes den nye forældelsesfrist fra dagen for erkendelsen.
                                                                           Stk. 3. Sker afbrydelsen ved foretagelse af retslige skridt som nævnt
§ 15. Forældelsen afbrydes, når skyldneren over for fordringshave-         i § 16, regnes den nye frist fra den dag, da retsforlig indgås, dom
ren udtrykkeligt eller ved sin handlemåde erkender sin forpligtelse.       afsiges, betalingspåkrav påtegnes af fogedretten, eller anden afgø-
§ 16. Forældelsen afbrydes, når fordringshaveren foretager retslige        relse træffes.
skridt mod skyldneren med henblik på at erhverve dom, betalings-           Stk. 4. Er fordringen anerkendt i et konkurs- eller dødsbo eller i
påkrav påtegnet af fogedretten, voldgiftskendelse eller anden bin-         vedtagen tvangsakkord eller afsagt gældssaneringskendelse, regnes
dende afgørelse, der fastslår fordringens eksistens og størrelse, og       den nye frist fra boets slutning, tvangsakkordens vedtagelse eller
forfølger disse skridt inden for rimelig tid.                              gældssaneringskendelsens afsigelse.
Stk. 2. Gøres fordringen gældende ved domstol, sker afbrydelsen            Stk. 5. Anerkendes fordringen efter anmeldelse som nævnt i § 17,
1)     ved indlevering af stævning eller betalingspåkrav til retten,       stk. 1, nr. 5, regnes den nye forældelsesfrist fra dagen for anerken-
2)     når påstand om fordringen nedlægges under retssagen, her-           delsen.
       under som modkrav,                                                  Stk. 6. Sker afbrydelsen ved indgivelse af anmodning om udlæg
                                                                           m.v., jf. § 18, stk. 1-3, regnes den nye forældelsesfrist fra fogedfor-

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retningens eller auktionens afslutning eller, når arrest er forfulgt       Stk. 3. Indbringes en tvist inden forældelsesfristens udløb for et
ved anlæggelse af justifikationssag, i overensstemmelse med reglen         privat klagenævn, ankenævn eller lignende, gælder stk. 2, 1. og 2.
i stk. 3. Er forældelsen afbrudt ved underretning om afgørelse om          pkt., tilsvarende.
lønindeholdelse, jf. § 18, stk. 4, regnes den nye forældelsesfrist fra     Stk. 4. Er der inden forældelsesfristens udløb efter retsplejelovens
det tidspunkt, da der træffes afgørelse om, at lønindeholdelsen op-        regler herom eller med hjemmel i parternes forudgående aftale
hører, eller senest fra det tidspunkt, da lønindeholdelsen har været       fremsat begæring om afholdelse af syn og skøn uden for rets- eller
stillet i bero i 1 år. Er forældelsen afbrudt ved underretning om af-      voldgiftssag vedrørende forhold af betydning for fordringens eksi-
gørelse om modregning, jf. § 18, stk. 4, regnes den nye forældelses-       stens eller størrelse, eller har parterne inden forældelsesfristens
frist fra den dag, da afgørelsen om modregning træffes.                    udløb indgået aftale herom, indtræder forældelse tidligst 1 år efter
Stk. 7. Sker afbrydelsen ved indgivelse af anmodning om udlæg              skønsforretningens afslutning.
for en fordring som nævnt i § 5, løber en ny forældelsesfrist på 10        Stk. 5. Er der inden forældelsesfristens udløb indledt forhandlinger
år også for de omkostninger og uforældede renter, der er opgjort           om fordringen mellem skyldneren og fordringshaveren, eventuelt
under fogedforretningen.                                                   under medvirken af en uafhængig tredjemand, indtræder forældelse
                                                                           tidligst 1 år efter det tidspunkt, hvor forhandlingerne må anses for
Kapitel 6                                                                  at være afsluttet.
                                                                           § 22. Hæfter flere skyldnere solidarisk for fordringen, og har for-
Foreløbig afbrydelse af forældelse                                         dringshaveren inden forældelsesfristernes udløb indledt retsforfølg-
§ 20. Har fordringshaveren inden forældelsesfristens udløb foreta-         ning som nævnt i § 16 eller § 21, stk. 1, mod én af skyldnerne og
get et retsligt skridt som nævnt i § 16, men fører dette ikke til forlig   skriftligt underrettet de øvrige om forfølgningen og opfordret dem
eller realitetsafgørelse, indtræder forældelse tidligst 1 år efter, at     til at varetage deres interesser under sagen, forældes fordringen
fordringshaveren har fået meddelelse om, at sagen er afsluttet. Har        mod de øvrige skyldnere tidligst 1 år efter, at sagen er afsluttet ved
fordringshaveren ikke fået sådan meddelelse inden rimelig tid,             forlig, dom eller på anden måde.
regnes fristen fra det tidspunkt, da fordringshaveren fik kendskab         Stk. 2. Samme regler gælder, når fordringen afhænger af et retsfor-
til forholdet eller burde have søgt oplysning herom.                       hold, hvorom der er rejst sag af eller mod fordringshaveren.
Stk. 2. Fordringshaveren kan ikke påberåbe sig stk. 1, hvis
1)      det retslige skridt åbenbart ikke kunne føre til en realitetsaf-   Kapitel 7
        gørelse,
2)      fordringshaveren hæver sagen, selv om en realitetsafgørelse        Virkningerne af forældelse
        kunne være opnået, eller                                           § 23. Ved forældelse mister fordringshaveren sin ret til at kræve
3)      det beror på fordringshaverens valg ved indleveringen af et        opfyldelse.
        betalingspåkrav til fogedretten, at en realitetsafgørelse ikke     Stk. 2. Ved forældelse af hovedfordringen bortfalder også krav på
        træffes.                                                           rente og lignende ydelse.
Stk. 3. Bestemmelserne i stk. 1 og 2 gælder tilsvarende, hvis for-         § 24. Uanset fordringens forældelse bevarer fordringshaveren aftalt
dringshaveren inden forældelsesfristens udløb har indgivet konkurs-        modregningsret og ret til modregning over for krav, som udspringer
begæring, uden at konkursdekret er afsagt, har indgivet begæring           af det samme retsforhold, og som er stiftet, inden forældelse ind-
om rekonstruktionsbehandling, uden at rekonstruktionsbehandling            trådte.
er indledt, eller har iværksat forfølgning som nævnt i § 18, uden          § 25. Ved en fordrings forældelse bortfalder også retten til fyldest-
at fogedforretning eller auktion er afholdt.                               gørelse for fordringen i pant eller udlæg i skyldnerens ejendom, jf.
Stk. 4. Er fordringen inden forældelsesfristens udløb, jf. herved §        dog stk. 2.
17, stk. 3, anmeldt i et konkurs- eller dødsbo, men bliver den ikke        Stk. 2. Uanset fordringens forældelse bevares retten til fyldestgø-
anerkendt, forældes fordringen mod skyldneren personligt eller             relse i pant i skyldnerens ejendom, når der er tale om
dennes arvinger tidligst 1 år efter meddelelsen af afgørelsen om           1)     pant for hovedstolen ifølge tinglyst pantebrev i fast ejendom
fordringens afvisning eller, hvis en sådan afgørelse ikke træffes,                for en bestemt angiven sum,
efter boets slutning. Tilsvarende gælder, når en fordring inden for-       2)     håndpant, bortset fra håndpant i ejerpantebrev, eller
ældelsesfristens udløb er anmeldt i forbindelse med indledning af          3)     underpant i fast ejendom, som panthaveren inden fordringens
gældssaneringssag, anmeldt i forbindelse med indkaldelse som                      forældelse har overtaget til brug.
nævnt i § 17, stk. 1, nr. 5, eller anmeldt til rekonstruktøren i
                                                                           Stk. 3. Tilbageholdsret berøres ikke af fordringens forældelse.
forbindelse med rekonstruktionsbehandling.
                                                                           Stk. 4. En sælgers ejendomsforbehold i leveret løsøre bortfalder
§ 21. Er der inden forældelsesfristens udløb af eller mod fordrings-       ved forældelse af fordringen på købesummen.
haveren anlagt rets- eller voldgiftssag om grundlaget for fordringen,      Stk. 5. Når en rettighed hviler på fast ejendom som grundbyrde, er
indtræder forældelse tidligst 1 år efter sagens endelige afgørelse.        alene de enkelte forfaldne ydelser genstand for forældelse.
Stk. 2. Er en sag om fordringens eksistens eller størrelse eller en
sag, som er afgørende herfor, inden forældelsesfristens udløb ind-
bragt for en administrativ myndighed, indtræder forældelse tidligst
                                                                           Kapitel 8
1 år efter, at myndigheden har givet meddelelse om sin afgørelse.          Lovens fravigelighed m.v.
Dette gælder, uanset om fordringen gøres gældende af den, der har
                                                                           § 26. Loven kan ikke ved forudgående aftale fraviges til skade for
indbragt sagen, eller af den anden part, herunder det offentlige.
                                                                           skyldneren.
Indbringes sagen inden for den i loven fastsatte frist eller i øvrigt
                                                                           Stk. 2. Loven kan heller ikke ved forudgående aftale fraviges til
inden for rimelig tid for en højere administrativ myndighed eller
                                                                           skade for en fordringshaver (forbruger), når denne hovedsagelig
for Folketingets Ombudsmand, regnes fristen på 1 år fra meddelel-
                                                                           handler uden for sit erhverv og skyldneren er en erhvervsdrivende,
sen om denne myndigheds afgørelse, henholdsvis Ombudsmandens
                                                                           der handler som led i sit erhverv.
afslutning af sagen.

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Stk. 3. Den erhvervsdrivende har bevisbyrden for, at en aftale, den     Stk. 2. Fra lovens ikrafttræden ophæves Danske Lov 5-14-4 og lov
pågældende har indgået, ikke er omfattet af stk. 2.                     nr. 274 af 22. december 1908 om forældelse af visse fordringer, jf.
Stk. 4. Bestemmelsen i stk. 2 finder ikke anvendelse, når der er        dog § 30, stk. 1.
udstedt et dokument for fordringen og skyldneren frigøres ved at        § 30. Loven finder anvendelse også på tidligere stiftede fordringer,
erlægge ydelsen til den, der har dokumentet i hænde.                    som ikke inden ikrafttrædelsesdagen er forældet efter de hidtil
§ 27. Til frister efter denne lov medregnes den månedsdag, der          gældende regler, jf. dog stk. 2 og 4. Forældelse indtræder dog tid-
svarer til den dag, hvorfra fristen regnes. I mangel af tilsvarende     ligst den 1. januar 2011, medmindre fordringen inden dette tids-
dag udløber fristen på den sidste dag i måneden.                        punkt ville være forældet såvel efter denne lovs bestemmelser som
Stk. 2. Udløber en frist i en weekend, på en helligdag, grundlovs-      efter de hidtil gældende bestemmelser. I det sidstnævnte tilfælde
dag, den 24. eller den 31. december, udstrækkes fristen til den         anvendes det seneste tidspunkt for forældelsens indtræden.
førstkommende hverdag.                                                  Stk. 2. Indtil den 31. december 2017 er fristen efter lovens § 3, stk.
§ 28. Når der i anden lov er fastsat særlige forældelsesfrister eller   3, nr. 4, dog 20 år efter tidspunktet for fordringens stiftelse for
andre særlige bestemmelser om forældelse, finder nærværende lovs        fordringer på forholdsmæssigt afslag i købesummen vedrørende
bestemmelser anvendelse, i den udstrækning andet ikke følger af         fast ejendom på grund af forurening af jord.
den anden lov eller af forholdets særlige beskaffenhed.                 Stk. 3. Afbrydelse af forældelse, der har fundet sted før lovens
                                                                        ikrafttræden, har virkning som afbrydelse efter denne lov, selv om
Kapitel 9                                                               den ikke er sket på den i loven foreskrevne måde.
                                                                        Stk. 4. Lovens § 26, stk. 2, finder alene anvendelse på aftaler, der
Ikrafttræden m.v.                                                       indgås eller forlænges efter lovens ikrafttræden.
§ 29. Loven træder i kraft den 1. januar 2008.                          § 31. Loven gælder ikke for Færøerne og Grønland, men kan ved
                                                                        kongelig anordning sættes i kraft for disse landsdele med de afvi-
                                                                        gelser, som de særlige færøske og grønlandske forhold tilsiger.




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Forældelsesloven (LBKG 2015 1238)                                                                                                             Ikraft: 2024-01-01


                                                                                    hvis § 2 indsætter § 3, stk. 5, og ændrer i § 4, stk. 2 og § 30, stk. 2, indeholder
(1) Lov nr. 140 af 28. februar 2018 om ændring af straffeloven, lov om foræl-       følgende ikrafttrædelsesbestemmelser:
   delse af fordringer, lov om erstatningsansvar og lov om erstatning fra staten    § 5.
   til ofre for forbrydelser (Ophævelse af forældelsesfrister for gerningsmandens   Stk. 1. Loven træder i kraft den 1. april 2018.
   strafansvar i sager om seksuelt misbrug af børn og for erstatningskrav mod       Stk. 2. ---.
   forvaltningsmyndigheder for svigt i sager om overgreb mod børn, forhøjelse       Stk. 3. § 2, nr. 1, finder også anvendelse på fordringer, der er forældet før
   af niveauet for tortgodtgørelse for seksuelle krænkelser samt ophævelse af       lovens ikrafttræden.
   72-timersreglen i sager om voldtægt, incest og seksuelt misbrug af børn m.v.),   Stk. 4-5. ---.




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